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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF WYOMING

RIA R SQUARED, INC.,                                    )
a Delaware corporation,                                 )
                                                        )
         Plaintiff,                                     )
                                                        )
         v.                                             )    Case No. 21-CV-125
                                                        )
PAUL D. MCCOWN, AND                                     )
MCCOWN ENTERPRISES, LLC,                                )
a Wyoming Limited Liability Company                     )
                                                        )
         Defendants.                                    )


                       MEMORANDUM IN SUPPORT OF MOTION FOR
                        PARTIAL SUMMARY JUDGMENT - FRAUD


         Plaintiff Ria R Squared, Inc. (“R Squared”), through its counsel of record, submits its

Memorandum in Support of Motion for Partial Summary Judgment - Fraud as follows:




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                           I.     NATURE OF THE MATTER
         Mr. Paul D. McCown, both individually and as the Managing Member and/or sole

interest holder of McCown Enterprises, LLC (“Enterprises”), intentionally and deliberately

falsified financial documentation and information to present himself to R Squared as an

accredited investor worth over $750 million dollars. Based upon those representations,

including forged bank statements and impersonating a bank officer, R Squared sent $14.7

million to McCown’s business in connection with a loan transaction. As a result, R Squared is

entitled to an Order (i) (i) granting R Squared partial summary judgment on its claims for fraud

in the inducement and intentional misrepresentation; (ii) finding defendants jointly and

severally liable for the claims for fraud in the inducement and intentional misrepresentation;

(iii) awarding R Squared $14.7 million in damages against defendants for the claims for fraud

in the inducement and intentional misrepresentation; and (iv) reserving R Squared’s right to

seek punitive damages on its claims for fraud in the inducement and intentional

misrepresentation at a later date.

                                II.   UNDISPUTED FACTS
                       Defendants Methodically Perpetrate the Fraud

         Upon information and belief, early in 2021 Mr. McCown, the then-Chief Financial

Officer (“CFO”) of Wyoming Catholic College (“WCC”), told his employer that he had

become extraordinarily wealthy and wished to make a substantial donation to WCC. See

Affidavit of David Kang, Exhibit A, attached hereto and incorporated herein by reference, ¶

1.



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         During an introduction to R Squared, Mr. McCown represented that he was seeking

advisory services relating to WCC’s endowment fund, which was about to receive a $10 million

donation (from his own promised donation, although he did not explain that to R Squared at

the time). Id., ¶ 5. Mr. McCown soon informed R Squared he had amassed substantial personal

wealth and was seeking investment advisory services on his own behalf. As such, R Squared

began the “Know Your Customer” procedures and requested from Mr. McCown a variety of

personal and financial information about himself and his business, defendant Enterprises. Id.,

¶ 6.

         In late March 2021, Mr. McCown sent the most recent three months of bank

statements from his bank account at Wyoming Community Bank (“WCB”), with an account

number ending in 3668. Id., ¶ 7, Exhibits 1-3. The final statement showed a purported balance

of $750,323,282 – the final result of what was shown to have been a large transfer from US

Bank in Minneapolis. Id., Exhibit 3. Mr. McCown also sent the three most recent bank

statements purporting to be from his US Bank account and supporting the transfer of funds

to WCB. Id., ¶ 8, Exhibits 4-6. Over the ensuing weeks, Mr. McCown and R Squared

discussed the details of an investment advisory relationship whereby R Squared would set up,

through the international bank BNP Paribas, a custodial account for Mr. McCown’s substantial

wealth, which would initially be invested in a fund with R Squared’s affiliate. Id., ¶ 9.

         During this time, R Squared received various documents purportedly executed by WCB

Vice President and Branch Manager Kendall Hayford, from the email address

khayford@wyocommunityb.com. Those documents, among others, were on WCB letterhead


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and purported to verify the account balance in Mr. McCown’s account. Id., ¶ 10, Exhibits 7-

9. In the coming weeks, R Squared exchanged or was copied on several emails with Mr.

McCown and “Mr. Hayford.” Id., ¶ 11.

         In May 2021, Mr. McCown requested that R Squared loan his entity, Enterprises, $15

million to pay a purported supplier in order to alleviate a temporary cash-flow issue. In order

to nurture the relationship with WCC and its then-CFO Mr. McCown, and based upon

defendants’ financial documentation, R Squared agreed to loan $15 million to Enterprises. Id.,

¶ 12. On May 10, 2021, Mr. McCown executed, on behalf of Enterprises, a notarized

Promissory Note in favor of R Squared for $15 million. Id., ¶ 13, Exhibit 10. He also executed

a notarized Security Agreement in his individual capacity. Id., Exhibit 11.

         The activities, as recounted above, had one end-goal in mind – to manage the sizeable

wealth Mr. McCown had amassed. Id., ¶ 14.

                              Defendants Complete the Fraud

         On May 11, 2021, R Squared wired a total of $14.7 million (the $15 million loan amount

less an origination fee), in reliance on Mr. McCown’s fraudulent representations, to

Enterprises’ account at WCB in accordance with the wire instructions provided by Mr.

McCown. Id., ¶ 15. Once received, defendants quickly began transferring almost all of those

millions of dollars out of Enterprises’ account at WCB – none of it to pay a purported

“supplier” or to pay any other actual expenses of the business. Id., ¶ 16. Instead, Mr. McCown

made the following transfers:




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                          a.   On May 11, Mr. McCown caused his business to wire

                 $10.5 million to the “Goldman Sachs Philanthropy Fund,” which Mr.

                 McCown then directed to wire $10 million as an “anonymous donation”

                 to WCC, where (as noted) he was at that time the CFO;

                          b.   On May 11, Mr. McCown caused his business to wire

                 $375,000 to his brother, Phillip McCown;

                          c.   On May 11, Mr. McCown caused his business to wire

                 $750,000 to his brother-in-law and sister-in-law, Paul and Claire Alarcon;

                          d.   On May 11, Mr. McCown caused his business to wire

                 $375,000 to his close friend and colleague at WCC, Mr. Tonkowich, who

                 had introduced him to R Squared’s principal in the first place;

                          e.   On May 11, Mr. McCown caused his business to send

                 $841,863 to the Wyoming Business Council in the form of a cashier’s

                 check;

                          f.   On May 19, Mr. McCown caused his business to wire

                 $375,000 to Susan Gleason, an Admissions Counselor at WCC and

                 employee of Mr. McCown’s gin distillery, Sweetwater Spirits;

                          g.   On May 19, Mr. McCown caused his business to wire

                 $550,000 to his personal WCB account, and that same day he sent those

                 funds from his personal account to a company named Trolan LLC,

                 which is registered to conduct business in Wyoming but is located in


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                 Michigan (Mr. McCown’s home state), and with which R Squared

                 believes Mr. McCown is affiliated and may well own or control;

                       h.     On May 24, Mr. McCown caused his business to wire

                 another $250,000 to the Trolan LLC account.

Id.

         Shortly after funding the loan, R Squared learned that the bank statements provided by

Mr. McCown, as well as attestations and a Deposit Account Control Agreement, all

purportedly signed by Wyoming Community Bank Vice President Mr. Hayford, were forged,

inaccurate and fraudulent. Id., ¶ 17, Exhibits 12 and 13. R Squared also learned that the email

domain “wyocommunityb.com” is not a domain used by WCB, and is not, and never has been,

the email address of WCB Vice President Kendall Hayford. WCB personnel provided

affidavits establishing that everything was a forgery. Id. Regrettably, R Squared knew none of

that at the time it was fostering the relationship with Mr. McCown. Id., ¶ 18.

         In June 2021, WCC placed Mr. McCown on “indefinite administrative leave” and

shortly thereafter Mr. McCown resigned from his position as CFO of WCC. Id., ¶ 20.

         Since May of 2021, the FBI has been investigating Mr. McCown for (potentially among

other things) the fraudulent scheme perpetrated against R Squared, and has seized a substantial

amount of the funds that defendants fraudulently obtained and subsequently distributed. Id.,

¶ 21. Despite those seizures, there is no assurance that R Squared will ever recover those

seized funds from the government. Id., ¶ 22.




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         After R Squared sued defendants in this matter, their counsel filed an answer invoking

their Fifth Amendment privilege against self-incrimination in response to virtually every

substantive allegation against them, including the ones summarized above. Id., ¶ 19; Doc. 42.

         Throughout the course of the relationship with Mr. McCown and his business entity,

R Squared reasonably relied upon Mr. McCown’s representations, as set forth above, and

believed them to be true. Id., ¶ 23. R Squared reasonably relied upon the documentation

provided by Mr. McCown and Enterprises, including forged and false bank statements

purportedly from WCB and US Bank, and documents presented with the purported letterhead

of WCB and with the purported signature of WCB officer Kendall Hayford. Id. Based upon

that reasonable reliance, R Squared entered into the loan transaction and wired the loan

proceeds. Id. R Squared would not have done so in the absence of those intentional

misrepresentations and forged and fraudulent documents. Id.

                            III.    STANDARD OF REVIEW
         In Lennen v. City of Casper, Wyoming, this Court dictated the standard of review regarding

summary judgment as follows:

                 The court shall grant summary judgment if the movant shows
                 that there is no genuine dispute as to any material fact and the
                 movant is entitled to judgment as a matter of law. A fact is
                 material if, under the governing law, it could have an effect on
                 the outcome of the lawsuit. A dispute over a material fact is
                 genuine if a rational jury could find in favor of the nonmoving
                 party on the evidence presented. Testimony or other evidence
                 grounded on speculation does not suffice to create a genuine
                 issue of material fact to withstand summary judgment.
                 In considering the motion, the Court views the record and all
                 reasonable inferences that might be drawn from it in the light


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                 most favorable to the party opposing summary judgment.
                 Generally, the moving party has both the initial burden of
                 production on a motion for summary judgment and the burden
                 of establishing that summary judgment is appropriate as a matter
                 of law. If the moving party carries this initial burden, the
                 nonmoving party may not rest on its pleadings, but must bring
                 forward specific facts showing a genuine dispute for trial as to
                 those dispositive matters for which it carries the burden of proof.

No. 19-CV-41-SWS, 2021 WL 2885788, at *1 (D. Wyo. June 15, 2021)(internal citations and

quotations omitted).

                 When determining if a genuine issue of material fact exists
                 regarding a claim of fraud, a trial judge must bear in mind the
                 actual quantum and quality of proof necessary to support liability.
                 In ruling on a motion for summary judgment, the judge must
                 view the evidence presented through the prism of the substantive
                 evidentiary burden.

Wittmer v. Am. Med., No. 11-CV-126-F, 2011 WL 13112085, at *7 (D. Wyo. 2011) (internal

citations and quotations omitted).

                                     IV.    ARGUMENT

         For the purposes of this limited motion and memorandum, Plaintiff’s claim rests upon

fraud in the inducement and intentional misrepresentation. The elements (detailed below) are

nearly identical.

         R Squared is keenly aware its fraud claims must be proven by clear and convincing

evidence, as opposed to by a preponderance of the evidence for negligent misrepresentation

claims. The granting of summary judgment on a fraud claim is not a novelty in the US District

Court system. See, for example, Coactiv Capital Partners, Inc., v. Hudson Converting, Inc., 2010 WL




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4316751 (N.D. New York 2010)(granting summary judgment for plaintiff on fraud claim, with

elements similar to those of Wyoming’s).

         As revealed by the record and pleadings of the parties, the legal standard is easily met

here given the unabashed actions of defendants.

A.       ADVERSE INFERENCES SHOULD BE DRAWN AGAINST DEFENDANTS.

         Due to defendants’ prior pleadings in this matter, specifically their invocation of the

Fifth Amendment, defendants cannot provide evidence to counter Plaintiff’s claim that it was

the victim of a sophisticated fraud perpetrated by defendants. Invoking the Fifth Amendment

in a civil matter is more than just a failure of production on defendants’ part. The invocation

of the Fifth Amendment actually adds to the weight of the evidence favoring Plaintiff’s claim

because the Court is permitted to draw an adverse inference in a civil case when defendants

refuse to testify on self-incrimination grounds. See Arango v. U.S. Dept. of the Treasury, 115 F.3d

922, 926 (11th Cir. 1997).

         The presence of Enterprises in the fraudulent scheme does not alter the inference. The

adverse inference drawn against an individual is similarly applied against corporate defendants

when the actors refused to talk about conduct they engaged in while in the scope of their

employment by the respective defendant. See RAD Serv., Inc., v. Aetna Cas. & Sur. Co., 808 F.2d

271, 275 (3d Cir. 1986)(holding that the district court did not err in instructing the jury that it

could draw an adverse inference against an insurance company based on a managing

employee’s Fifth Amendment invocation).




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         The Court’s primary concern in this situation must be whether the adverse inference is

trustworthy under all of the circumstances and will advance the search for truth. See Bernal v.

All Am. Inv. Realty, Inc., 479 F.Supp. 2d 1291, 1337 (S.D.Fla. 2007). When reviewing the

materials contained in the record, the Court can easily be satisfied that an adverse inference

against both the individual and corporate defendant is warranted as trustworthy and justified

under all the circumstances. Nor could defendants refute the overwhelming evidence against

them even if he had not invoked the Fifth Amendment to avoid admissions that would have

been used against them criminally.

B.       SUMMARY         JUDGMENT        FOR      INTENTIONAL         MISREPRESENTATION           IS

         WARRANTED.

         To prevail on a claim for intentional misrepresentation or fraud under Wyoming law,

a plaintiff must show:

                  (1) the defendant made a false representation intended to induce
                  action by the plaintiff; (2) the plaintiff reasonably believed the
                  representation to be true; and (3) the plaintiff relied on the false
                  representation and suffered damages. In order to prove
                  intentional misrepresentation, the plaintiff must show that the
                  misrepresentation was made intentionally, with knowledge of its
                  falsity, or that the maker of the misrepresentation was at least
                  aware that he did not have a basis for making the statement.

Mellon v. Int'l Grp. for Historic Aircraft Recovery, 33 F. Supp. 3d 1277, 1286 (D. Wyo. 2014), aff'd,

612 F. App'x 936 (10th Cir. 2015)(internal quotations and citations omitted).

         Here, Mr. McCown and Enterprises made intentional misrepresentations regarding

their wealth, assets and financial needs.




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         Knowing they did not have sufficient assets to warrant R Squared’s services, and with

the intent to defraud R Squared, the defendants falsified bank records and submitted them to

R Squared. However, the bank records “are not true and correct statements from WCB for

the account ending in 3668…and [were] forgeries.” Exhibit 12, ¶¶ 3-4. “The purported wire

transfer into the account ending in 3368 on March 1, 2021, in the amount of

$750,000,000.00…is fictitious and never occurred. That transfer is not reflected in any record

of WCB.” Id., ¶ 5. To the knowledge of Mr. Estep, “neither Paul McCown nor any entity he

owns or controls has ever held millions of dollars in an account or accounts at WCB as WCB

would be unable to hold such large of deposits.” Id., ¶ 8

             Baiting his stick with the mother of all carrots, Mr. McCown intended for R Squared

to act swiftly in order to gain access to the management of his $750 million investment. R

Squared reasonably believed the representations to be true.

         When considering whether clear and convincing evidence has been presented, the

Wyoming Supreme Court has recognized conduct or words which tend to produce an

erroneous impression may satisfy the plaintiff's burden. Rogers v. Wright, 2016 WY 10, ¶ 13,

366 P.3d 1264, 1271 (Wyo. 2016).

         R Squared’s reasonable belief was bolstered by what appeared to be additional formal

verifications from WCB. Exhibits 8 and 9. Those verifications, apparently coming from Mr.

Hayford at WCB, represented that Mr. McCown held over $750 million in his personal

account. But, these documents were also part of defendants’ master illusion. As before, “The

format of the letterhead on the Attestations does not reflect the true and correct letterhead


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for WCB, and the representation set forth in the Attestations is false…and does not accurately

reflect the bank’s accounts. Exhibit 12, ¶ 7.

         Due to the representations and apparent verifications, R Squared reasonably relied

upon defendants’ story and funded the transaction. Nearly instantly, R Squared lost the entire

$14.7 million that it wired to Mr. McCown’s business.

         There is only one logical and clear conclusion – defendants planned this fraud from

beginning to the end. Each document was intended to validate Mr. McCown’s story. Each

line of communication was proposed personally by Mr. McCown (i.e., use this e-mail, use this

phone number, see this confirmation). Each communication bought him a little more time as

he lulled R Squared into action (even getting them to increase the loan amount – See Doc. 1,

Complaint, ¶ 21).

         Conversely, WCB is on record asserting that (as defendants have not denied) the e-

mails, phone numbers, financial information, letterhead and signatures are all forgeries or

inaccurate. Exhibit 13, ¶¶ 4, 6, 8, 11, 14.

         Defendants controlled the entirety of the scheme. Docs. 1-2, pgs. 53 and 59 (directing

all communications to “Mr. Hayford” at the provided number). Even if there were other

parties at work, Mr. McCown was at the center. Now, due to defendants asserting their Fifth

Amendment right to silence, the Court should squarely and accurately assess liability against

defendants.

         R Squared has presented the Court with clear and convincing evidence of the

orchestrated scheme. The fallout of this matter, and the cost and expense of its litigation,


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should not be permitted to continue further. Summary judgment, as a matter of law, is

warranted.

C.       SUMMARY JUDGMENT FOR FRAUD IN THE INDUCEMENT IS WARRANTED.

         To prevail on a claim for fraud in the inducement, the plaintiff must properly allege (1)

defendants made a false representation; (2) reliance; (3) the asserted false representation was

made to induce action; and (4) its belief that the representations were true. Albrecht v.

Zwaanshoek Holding En Financiering, B.V., 762 P.2d 1174, 1187 (Wyo. 1988).

         As above, the facts clearly speak for themselves. Please note, due to the similarities

between fraud in the inducement and intentional misrepresentation, R Squared will quickly

walk through the facts supporting this claim and primarily rely upon the arguments of the

previous section.

         Defendants falsely represented to R Squared that Mr. McCown had amassed significant

wealth, indeed in excess of $750 million, and was seeking asset management services and that

Enterprises needed short-term funding to alleviate an alleged business headache. Mr. McCown

represented that he would invest his purported $750 million through R Squared’s affiliate for

the purpose of inducing R Squared to loan Enterprises the funds. Defendants supported their

positions with communications and instruments purportedly from WCB, and these

documents were ultimately relied upon by R Squared. Certainly, the chain of events was

intended with only one goal on the part of Mr. McCown and Enterprises – to receive $14.7

million.




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         R Squared relied and acted upon those fraudulent representations. R Squared was

entirely within reasonable realms once WCB appeared to verify the accuracy of Mr. McCown’s

and Enterprises’ assertions. Now, the FBI has seized a sizeable portion of the funds and is

investigating defendants in connection with potentially filing criminal charges.

         Wyoming courts routinely conclude that if the facts are such that they are undisputed,

and it is plain that reasonable persons can draw but one inference from them, then the trial

court should grant a properly filed motion either for summary judgment or for directed

verdict. Jackson Hole Mountain Resort Corp. v. Rohrman, 2006 WY 156, ¶ 15, 150 P.3d 167, 172

(Wyo. 2006). The same routine conclusion and inference should be drawn here: (i) Mr.

McCown’s and Enterprises’ actions were fraudulent; (ii) defendants’ actions were taken to

induce action by R Squares; (iii) R Squared reasonably believed and relied upon the fraudulent

activity; (iv) R Squared was induced into action; and (v) R Squared has suffered damages due

to defendants’ actions. Summary judgment is warranted.

                                   V.    CONCLUSION
         WHEREFORE, R Squared respectfully requests that this Court enter an Order:

         (i) granting R Squared partial summary judgment on its claims for fraud in the

inducement and intentional misrepresentation;

         (ii) finding defendants jointly and severally liable for the claims for fraud in the

inducement and intentional misrepresentation;

         (iii) awarding R Squared $14.7 million in damages against defendants for the claims for

fraud in the inducement and intentional misrepresentation; and



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         (iv) reserving R Squared’s right to seek punitive damages on its claims for fraud in the

inducement and intentional misrepresentation at a later date.

         Respectfully submitted this 22nd day of December, 2021.

                                             RIA R SQUARED, INC.,
                                             a Delaware corporation,

                                                            Plaintiff .

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                               CERTIFICATE OF SERVICE

       The undersigned does hereby certify that a true and correct copy of the foregoing
pleading was served upon counsel of record via the ECF/CM Filing System (or otherwise as
indicated below).

                 Jason Tangeman                           [ X] Electronic Delivery
                 Nicholas & Tangeman                      ECF/CM
                 170 N. 5th Street                        [ ] Fax
                 Laramie, WY 82073-0928                   [ ] Overnight Delivery
                                                          [ ] U.S. Mail
                                                          [ ] e-mail to:


                                            By:     /s/: Ryan L. Ford




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